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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
                                         (Northern Division)

DAVID SYDNEY, et al.                              *

         Plaintiffs,                              *

v.                                                *          Case No. 22-cv-1142-GLR

CEDAR REALTY TRUST, INC., et al.                  *

         Defendants.                              *

     *         *        *         *   *       *    *    *   *            *      *     *      *
                                          JOINT STIPULATION

         Defendants, Cedar Realty Trust, Inc. (“Cedar”), Cedar Realty Trust Partnership, L.P.

(“Cedar Partnership”), and Bruce J. Schanzer, Gregg A. Gonsalves, Abe Eisenstat, Steven G.

Rogers, Sabrina Kanner, Darcy D. Morris, Richard H. Ross, and Sharon Stern (collectively the

“Cedar Board”) (together, Cedar, Cedar Partnership, and the Cedar Board are the “Cedar

Defendants”), Wheeler Real Estate Investment Trust, Inc. (“Wheeler”), and Plaintiffs, David

Sydney, SWC Phoenix Fund I, L.P., Martin Novick, J Renee Brennan Living Trust, Scott

Schroepfer, Kenneth Kamholz, Joe Speiser, and Elbert Capital I LLC (together “Plaintiffs”), by

and through their respective undersigned counsel file this Joint Stipulation.

         1.        Pursuant to an Asset Purchase Agreement dated March 2, 2022, Cedar and certain

of its subsidiaries intend to sell to non-parties DRA Fund X-B LLC and KPR Centers LLC a

portfolio of 33 grocery-anchored shopping centers, and potentially certain redevelopment assets,

for a cash purchase price of between $840,000,000 and $920,500,000 (the “Grocery-Anchored

Portfolio Sale”). Cedar’s common shareholders are presently scheduled to vote on the Grocery-

Anchored Portfolio Sale on May 27, 2022. If approved, Cedar expects to close the Grocery

Anchored Portfolio Sale and distribute net proceeds from the sale to its common stockholders by


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way of a special dividend. The Cedar Defendants hereby stipulate that Cedar will not distribute

any of the proceeds of the Grocery-Anchored Portfolio Sale to its common stockholders before the

close of business on June 24, 2022.

       2.       Pursuant to an Agreement and Plan of Merger dated March 2, 2022, Wheeler

intends to acquire Cedar by way of an all-cash merger transaction, with Cedar and Cedar

Partnership being the surviving entities (“Wheeler Merger”). The Cedar Defendants and Wheeler

hereby stipulate that they will not close the Wheeler Merger before the close of business on June

24, 2022.

       3.       Plaintiffs have filed a Motion for Temporary Restraining Order (“TRO Motion”)

(ECF No. 13) seeking, inter alia, to enjoin the distribution of the proceeds of the Grocery-

Anchored Transaction and the consummation of the Wheeler Merger. Since the standards for

granting a request for a preliminary injunction are the same as those for granting a request for a

temporary restraining order (see Ass'n of Cmty. Cancer Centers v. Azar, 509 F. Supp. 3d 482, 493

n.8 (D. Md. 2020)), the parties respectfully ask the Court to deem the TRO Motion as a motion for

a preliminary injunction seeking the same injunctive relief sought in the TRO Motion except

extended until a determination on the merits of Plaintiffs’ claims, and to treat the TRO Motion as

such for all purposes. Defendants will oppose the TRO Motion as converted, and Plaintiffs will

file their reply in further support of the TRO Motion as converted, and submit a revised proposed

order with their reply papers consistent with the above.

       4.       Defendants’ response to the Amended Complaint (ECF No. 4) will be due twenty-

one days after the date on which the Court enters an order adjudicating the TRO Motion, as

converted.




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Approved this ____ day of May, 2022.



Hon. George L. Russell, III
United States District Judge




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Respectfully submitted,



   /s/ William M. Krulak, Jr.                      /s/ Jerrold A. Thrope
William M. Krulak, Jr. (Fed. Bar No. 26452)    Jerrold A. Thrope (Fed. Bar No. 01376)
Megan J. McGinnis (Fed. Bar No. 12810)         Gordon Feinblatt LLC
Miles & Stockbridge P.C.                       1001 Fleet Street, Suite 700
100 Light Street                               Baltimore, Maryland 21202
Baltimore, Maryland 21202                      jthrope@gfrlaw.com
T/F: 410-385-3727                              (410) 576-4295 (Phone/Fax)
wkrulak@milesstockbridge.com
mmcginnis@milesstockbridge.com                 Counsel for Defendant Wheeler Real
                                               Estate Trust, Inc.
Joshua R. Chazen (Fed. Bar No. 06837)
Miles & Stockbridge P.C.
11 North Washington Street
Rockville, Maryland20850
T/F: 202-465-8388
jchazen@milesstockbridge.com

Counsel for Defendants Cedar Realty
Trust, Inc., Cedar Realty Trust
Partnership, L.P., Bruce J. Schanzer,
Gregg A. Gonsalves, Abe Eisenstat,
Steven G. Rogers, Sabrina Kanner,
Darcy D. Morris, Richard H. Ross, and
Sharon Stern




                                              _____/s/ Donald J. Enright____________

 WOHL & FRUCHTER LLP                          LEVI & KORSINSKY, LLP
 Joshua E. Fruchter                           Donald J. Enright
 25 Robert Pitt Drive, Suite 209G             (Bar No.: 13551)
 Monsey, NY 10952                             1101 30th Street, N.W., Suite 115
 Telephone: (845) 290-6818                    Washington, DC 20007
 Facsimile: (718) 504-3773                    Telephone: (202) 524-4290
 jfruchter@wohlfruchter.com                   Facsimile: (212) 363-7171
                                              denright@zlk.com
 Additional Counsel for Plaintiffs
                                              Counsel for Plaintiffs and [Proposed] Lead
                                              Counsel for Putative Class



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                                   CERTIFICATE OF SERVICE
       I hereby certify that on May 20, 2022, service required by Fed. R. Civ. P. 5(a) has been

made of the foregoing Joint Stipulation.

                                                                 /s/_Donald J. Enright
                                                                 (Bar. No. 13551)




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